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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :
       v.                                       :      Case No.:             21-cr-158
                                                :
KYLE FITZSIMONS,                                :      Re Document No.:      34
                                                :
       Defendant.                               :

                                           ORDER

               DENYING DEFENDANT’S MOTION TO REVOKE DETENTION ORDER

       For the reasons stated in the Court’s memorandum opinion separately and

contemporaneously issued, the Defendant’s motion to revoke the detention order and for pretrial

release (ECF No. 34) is DENIED. It is hereby:

       ORDERED that Defendant shall be detained pending trial.


       SO ORDERED.


Dated: September 24, 2021                                       RUDOLPH CONTRERAS
                                                                United States District Judge
